              Case 1:19-cv-00853-LMB-JFA Document 28 Filed 07/31/20 Page 1 of 2 PageID# 174


                                                   230 PARK AVENUE, SUITE 440
    DUNCAN P. LEVIN                                NEW YORK, NEW YORK 10169
 DIRECT DIAL: 646-445-7825
DLEVIN@TUCKERLEVIN.COM
                                                           212-330-7626
                                                     FACSIMILE: 212-422-3305



                                                            July 31, 2020


               BY ECF

               Honorable Leonie M. Brinkema
               U.S. District Judge
               Albert V. Bryan U.S. Courthouse
               401 Courthouse Square
               Alexandria, VA 22314

                                                      Re:     Elzagally et al v. Haftar
                                                              U.S. District Court for the Eastern District of Virginia
                                                              1:19-cv-00853-LMB-MSN

                                                              al-Suyid et al v. Hifter et al
                                                              U.S. District Court for the Eastern District of Virginia
                                                              1:20-cv-00170-LMB-JFA


               Dear Judge Brinkema:

                       As this Court is aware, General Khalifa Hifter, commander of the Libyan National Army, is
               named as a defendant in both of the above-captioned cases. Gen. Hifter is now aware of these two
               cases, and he has retained the undersigned to represent him before this Court. In turn, this Firm has
               asked Edward Ungvarsky, Esq. of Ungvarsky Law, PLLC to serve as local counsel.

                        Each case was referred to a U.S. Magistrate Judge who then issued a report outlining proposed
               findings of facts and recommendations to this Court. In Elzagally et al v. Haftar, the Magistrate
               recommended that the Court dismiss plaintiff’s motion for default judgment. However, in al-Suyid et
               al v. Hifter et al., the Magistrate recommended that the Court enter default judgment in favor of the
               plaintiffs.

                       As Gen. Hifter did not receive service of the complaints or the reports and recommendations
               and was previously unaware of the two cases, we respectfully request that this Court allow Gen. Hifter
               to enter these matters and respond substantively and procedurally to the complaints and Magistrate
               reports and recommendations. Furthermore, as plaintiffs’ complaint al-Suyid et al v. Hifter et al
               acknowledges, Gen. Hifter left Virginia almost a decade ago and has been resident in Libya since 2011.
               Accordingly, Gen. Hifter does not consent to any assertion of personal jurisdiction in these matters.
Case 1:19-cv-00853-LMB-JFA Document 28 Filed 07/31/20 Page 2 of 2 PageID# 175


Honorable Leonie M. Brinkema
July 31, 2020
Page 2



If permitted by this Court, Gen. Hifter therefore intends to answer to the complaints and reports and
recommendations in these matters with formal motions or other responsive pleadings.

       Counsel for Gen. Hifter in these matters also intends to file a Motion for Leave to Appear
Pro Hac Vice before this Court in the above-captioned cases. Further, in light of the similar factual
and legal issues involved in these two cases, and similar requests for relief, Gen. Hifter may seek to
move the Court to consolidate the two cases under Rule 42 of the Federal Rules of Civil Procedure.

        For all the foregoing reasons, undersigned counsel for Gen. Hifter seeks leave of this Court
to enter the above-captioned cases, and respectfully requests two additional weeks to file the formal
motions requesting to appear pro hac vice and to respond to the complaints and magistrate reports
and recommendations in those matters.

                                               Respectfully submitted,


                                               Duncan P. Levin, Esq.


cc:    All parties (via ECF)
